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1A
 101-7-TDR
 /2010
 /2009
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF COLORADO


              In re:                       §
                                           §
              WASHINGTON CHILDRENS CENTER, §                      Case No. 14-12927 EEB
              INC.                         §
                                           §
                       Debtor              §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      Robertson B. Cohen, Trustee, chapter 7 trustee, submits this Final Account, Certification
              that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 951.00                             Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 459,779.81         Claims Discharged
                                                                   Without Payment: 111,954.85

              Total Expenses of Administration: 176,607.94


                      3) Total gross receipts of $ 636,387.75 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 636,387.75 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                CLAIMS                 CLAIMS
                                                SCHEDULED          ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 292,488.00       $ 584,346.38           $ 583,096.06          $ 291,543.03

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                         NA          240,528.49             240,528.49            176,607.94

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                 NA                  NA                    NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                            25,974.00         136,476.75              34,003.70                26,043.86

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             113,761.00         162,873.77             160,015.77            142,192.92

TOTAL DISBURSEMENTS                               $ 432,223.00      $ 1,124,225.39        $ 1,017,644.02          $ 636,387.75


                  4) This case was originally filed under chapter 7 on 03/13/2014 . The case was pending
          for 42 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 08/28/2017                        By:/s/Robertson B. Cohen, Trustee
                                                                               Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                       EXHIBITS TO
                                                     FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                         UNIFORM                        $ AMOUNT
                                                             TRAN. CODE1                     RECEIVED

 Liquidation of Real Property (Schedule A)                     1110-000                          616,000.00

Pueblo City/County Partnershp (CSAC) 4th Qtr.
Gran                                                           1121-000                            8,914.91

St. John Neumann                                               1121-000                                941.00

Parrent fees in collection                                     1121-000                            2,207.81

Current Parent Fees Receiaveble (collection unlike             1121-000                            1,548.75

1995 Ford Van; 127,199 miles 15 passenger van                  1129-000                            1,200.00

1987 Ford Van; 163,292 miles 15 passenger van                  1129-000                                550.00

1994 Chevy Van; 127,199 miles 15 passenger
vehicle                                                        1129-000                                700.00

1997 Ford Van; 214,144 miles 15 passenger
vehicle                                                        1129-000                            1,100.00

1997 Ford E250 Van; 162, 718 miles 15 passenger
va                                                             1129-000                            1,000.00

 Personal Property @ Spaulding Location                        1129-000                            2,000.00

Tax refund                                                     1224-000                                128.08




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                              DESCRIPTION                                    UNIFORM                                         $ AMOUNT
                                                                            TRAN. CODE1                                      RECEIVED

     Miscellaneous Computers towers and laptops                                 1229-000                                             40.00

    Land Title refund                                                           1290-000                                             57.20

TOTAL GROSS RECEIPTS                                                                                                           $ 636,387.75
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                       DESCRIPTION                            UNIFORM             $ AMOUNT
                                                                                                        TRAN. CODE              PAID

NA                                                                                                         NA                           NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                         $ 0.00
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM        CLAIMS
                                                                                     CLAIMS                 CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.      SCHEDULED                                                    CLAIMS PAID
                                                                                    ASSERTED               ALLOWED
                                                     CODE      (from Form 6D)

                US Bank PO Box 790401
                Saint Louis, MO 63179                                      0.00                   NA                   NA               0.00


                CITY OF PUEBLO, A
000025          COLORADO MUNICIPA                   4110-000          92,500.00             92,500.00            92,500.00              0.00


                CITY OF PUEBLO, A
000026          COLORADO MUNICIPA                   4110-000          53,066.00             53,066.00            49,566.00              0.00


                COMMUNITY
                DEVELOPEMENT
                SERVICES                            4110-000                NA             142,066.00           142,066.00       142,066.00




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                                                UNIFORM         CLAIMS
                                                                                 CLAIMS           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.       SCHEDULED                                            CLAIMS PAID
                                                                                ASSERTED         ALLOWED
                                                 CODE       (from Form 6D)

            PUEBLO COUNTY COMM
            DEVELOPMENT CORP                    4110-000                 NA          57,589.32        57,589.32        57,589.32


            PUEBLO COUNTY
000015      COMMUNITY                           4110-000           56,252.00         57,589.32        57,589.32              0.00


            U.S. BANK NATIONAL
000017      ASSOCIATION                         4110-000           35,403.00         35,019.99        35,838.86              0.00


            U.S. BANK NATIONAL
000018      ASSOCIATION                         4110-000           55,267.00         54,628.04        56,058.85              0.00


            US BANK                             4110-000                 NA          91,887.71        91,887.71        91,887.71

TOTAL SECURED CLAIMS                                            $ 292,488.00      $ 584,346.38     $ 583,096.06      $ 291,543.03


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED           ASSERTED          ALLOWED
                                          CODE

ROBERTSON B. COHEN                        2100-000                     NA          21,076.71         21,076.71         21,076.71


ROBERTSON B. COHEN                        2200-000                     NA           1,661.44          1,661.44           1,661.44


ENERGY, XCEL                              2420-000                     NA             279.20            279.20            139.60


TRUSTEE INSURANCE AGENCY                  2420-000                     NA           6,978.92          6,978.92           3,489.46


CLOSING FEE - LAND TITLE                  2500-000                     NA             200.00            200.00            200.00


DEED, RECORD CORRECTION                   2500-000                     NA              32.00             32.00              32.00




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                                         UNIFORM
                                                       CLAIMS            CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                            CLAIMS PAID
                                                     SCHEDULED          ASSERTED          ALLOWED
                                          CODE

ORDER, RECORD                             2500-000               NA             32.00            32.00              32.00


RELEASE, RECORD LIEN                      2500-000               NA             32.00            32.00              32.00


REPAIRS, CREDIT FOR                       2500-000               NA         16,815.00        16,815.00          16,815.00


Union Bank                                2600-000               NA          7,360.95         7,360.95           7,360.95


CITY OF PUEBLO                            2820-000               NA          1,315.49         1,315.49           1,315.49


LITIGATION SOLUTIONS INC                  2990-000               NA         36,842.37        36,842.37          36,842.37


SOLUTIONS, LITIGATION                     2990-000               NA         36,842.37        36,842.37               0.00


TODD, CURT                                3210-000               NA         53,595.00        53,595.00          31,485.00


TODD, CURT                                3220-000               NA          2,038.04         2,038.04           1,462.42


DENNIS & COMPANY PC                       3310-000               NA         10,750.00        10,750.00          10,750.00


DENNIS & COMPANY , PC                     3320-000               NA             30.00            30.00              30.00


BUYER BROKERAGE
COMMISSION                                3510-000               NA         21,560.00        21,560.00          21,560.00


SELLER BROKER COMMISSION                  3510-000               NA         21,560.00        21,560.00          21,560.00


DICKENSHEET                               3610-000               NA            688.50          688.50             688.50


DICKENSHEET & ASSOC                       3610-000               NA                6.00             6.00             0.00


DICKENSHEET & ASSOCIATES                  3610-000               NA            682.50          682.50                0.00


DICKENSHEET                               3620-000               NA             75.00            75.00              75.00




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                                         UNIFORM
                                                            CLAIMS             CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED           ASSERTED           ALLOWED
                                          CODE

DICKENSHEET & ASSOCIATES                  3620-000                    NA                75.00            75.00              0.00

TOTAL CHAPTER 7 ADMIN. FEES                                        $ NA         $ 240,528.49      $ 240,528.49      $ 176,607.94
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                            CLAIMS             CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                  CLAIMS PAID
                                                          SCHEDULED           ASSERTED           ALLOWED
                                          CODE

NA                                              NA                    NA                  NA               NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                         $ NA                 $ NA             $ NA              $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                              CLAIMS             CLAIMS
                                                UNIFORM
                                                            SCHEDULED           ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form       (from Proofs of    ALLOWED
                                                 CODE
                                                                 6E)              Claim)

            Gradisar, Trechter, Ripperger
            & Roth 1836 Vinewood Lane,
            Suite 200 Pueblo, CO 81005                                 0.00                 NA             NA               0.00


            Gradisar, Trechter, Ripperger
            & Roth 1836 Vinewood, Suite
            200 Pueblo, CO 81005                                       0.00                 NA             NA               0.00


            Gradisar,Trechter, Ripperger
            & Roth 1836 Vinewood Lane,
            Suite 200 Pueblo, CO 81005                                 0.00                 NA             NA               0.00




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)             Claim)

              Jennifer A. Encinias 393 E.
              Spaulding, C-11 Pueblo, CO
              81007                                                1,424.00                 NA              NA              0.00


              Sharon P. Serna 1725
              Constitution Road, #5203
              Pueblo, CO 81001                                     1,583.00                 NA              NA              0.00


              Tara M. Autobee PO Box
              3731 Pueblo, CO 81005                                1,503.00                 NA              NA              0.00


              Vanessa V. Manzanares 2610
              Cedar St. Pueblo, CO 81004                             980.00                 NA              NA              0.00


000023        BART G. KECK                        5300-000         2,277.00            2,120.00       2,120.00          1,329.66


000016        CARLA JACQUEZ                       5300-000            63.00              692.42        692.42             434.28


              COLORADO
              DEPARTMENT OF
AUTO          REVENUE                             5300-000             NA                   NA         988.58             988.58


000022        DANIELLE M. MARTINEZ                5300-000           502.00              667.32        667.32             418.54


000011        DONNA M. GUERRERO                   5300-000         2,540.00            3,046.00       2,540.00          1,593.09


000027        DOUGLAS GRADISAR                    5300-000             NA              2,096.84             0.00            0.00


000028        DOUGLAS GRADISAR                    5300-000           576.00            2,619.38        860.20             539.52


000029        DOUGLAS GRADISAR                    5300-000         1,064.00            3,210.30       1,063.98            667.32




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                                                               CLAIMS             CLAIMS
                                                  UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                   CODE
                                                                  6E)              Claim)

000030        DOUGLAS GRADISAR                    5300-000          1,116.00            3,361.14        1,063.98          667.32


              INTERNAL REVENUE
AUTO          SERVICE                             5300-000               NA                  NA         6,971.26        6,971.26


000005        JESSICA R. MATAMOROS                5300-000          1,471.00            1,745.64        1,745.64        1,094.87


000012        JON DRAKE                           5300-000          2,039.00            8,866.05        2,038.00        1,278.23


000006        LORETTA VALDEZ                      5300-000          1,380.00            1,739.10        1,739.10        1,090.76


000031        MANUEL G. PENA                      5300-000          2,381.00            2,240.30        2,240.30        1,405.11


000013        SHARON A. SMITH                     5300-000          1,346.00            1,575.48        1,575.48          988.15


000008        STACY DURAN-KABONG                  5300-000          2,056.00            1,704.00        1,704.00        1,068.74


000009        TERESA A. LUCERO                    5300-000          1,673.00            1,300.98        1,300.98          815.97


              COLORADO DEPT. OF
000014        LABOR AND EMPLOYM                   5800-000              0.00          89,770.50         2,931.00        2,931.00


              FEDERAL
              UNEMPLOYMENT
AUTO          INSURANCE                           5800-000               NA                  NA          128.08           128.08


              INTERNAL REVENUE
AUTO          SERVICE                             5800-000               NA                  NA         1,633.38        1,633.38

TOTAL PRIORITY UNSECURED                                         $ 25,974.00       $ 136,476.75      $ 34,003.70      $ 26,043.86
CLAIMS




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            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            ABC Plumbing & Electrical
            Supplies 101 Spring St.
            Pueblo, CO 81003                                       272.00                 NA             NA            0.00


            ACME Fire & Safety
            Equipment Co. Inc. PO Box
            1434 Pueblo, CO 81002                                  498.00                 NA             NA            0.00


            AmSam - Northern Colorado
            Paper PO Box 2317
            Jacksonville, FL 32203-2317                          3,603.00                 NA             NA            0.00


            Black Hills Energy PO Box
            6001 Rapid City, SD 57709                              346.00                 NA             NA            0.00


            Black Hills Energy PO Box
            6001 Rapid City, SD 57709                            1,015.00                 NA             NA            0.00


            Black Hills Energy PO Box
            6001 Rapid City, SD 57709-
            6001                                                 3,720.00                 NA             NA            0.00


            Blazer Electric Supply of
            Pueblo 230 S. Santa Fe
            Avenue Pueblo, CO 81003                                194.00                 NA             NA            0.00


            Board of Water Works PO
            Box 755 Pueblo, CO 81002                             1,153.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            CenturyLink PO Box 29040
            Phoenix, AZ 85038-9040                               1,300.00                 NA             NA            0.00


            Collection Bureau of America
            PO Box 5013 Hayward, CA
            94540                                                    0.00                 NA             NA            0.00


            Colorado Bureau Of
            Investigation 690 Kipling
            Street, Suite 3000 Denver, CO
            80215                                                    0.00                 NA             NA            0.00


            Colorado Dept. of Public
            Safety Cashier 700 Kipling St.
            Denver, CO 80215                                       198.00                 NA             NA            0.00


            Comcast Cable PO Box 34227
            Seattle, WA 98124-1227                                 390.00                 NA             NA            0.00


            Comcast Cable PO Box 34744
            Seattle, WA 98124-1744                                   0.00                 NA             NA            0.00


            Comcol 82 Pleasantview Dr.
            Holland, NY 14080                                        0.00                 NA             NA            0.00


            Deep Rock PO Box 660579
            Dallas, TX 75266-0579                                    0.00                 NA             NA            0.00


            Deep Rock Water Company
            Dept. 2146 Denver, CO
            80271-2146                                             639.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Douglas Gradisar 1836
            Vinewood #200 Pueblo, CO
            81005                                                    0.00                 NA             NA            0.00


            Edward M. McCord, P.C.
            Attorney At Law 985 Pico
            Point Colorado Springs, CO
            80905                                                    0.00                 NA             NA            0.00


            El Pomar Foundation 10 Lake
            Circle Colorado Springs, CO
            80906                                                   17.00                 NA             NA            0.00


            International Recovery Group
            PO Box 23892 Portland, OR
            97223                                                    0.00                 NA             NA            0.00


            Jon Drake 847 E. Evans
            Avenue Pueblo, CO 81004                              5,556.00                 NA             NA            0.00


            Kroger Check Recovery
            Center PO Box 30650 San
            Francisco, CA 94130                                    645.00                 NA             NA            0.00


            Meadow Gold Dairies, Inc.
            PO Box 710962 Denver, CO
            80271                                                3,059.00                 NA             NA            0.00


            Michael Callahan, LLC 215
            West Second St. Pueblo, CO
            81003                                                    0.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Mullans, Piersel & Reed
            Attorneys At Law 1311 North
            Greenwood Pueblo, CO 81003                               0.00                 NA             NA            0.00


            New West Technology LLC
            1965 Lane 27 Pueblo, CO
            81005                                                   85.00                 NA             NA            0.00


            Office Depot PO Box 70049
            Los Angeles, CA 90074                                  270.00                 NA             NA            0.00


            Peerless Tyre Co. 5000
            Kingston St. Denver, CO
            80239                                                  688.00                 NA             NA            0.00


            Pinnacol 720 Colorado Blvd.
            Suite 100 North Denver, CO
            80246                                                1,134.00                 NA             NA            0.00


            Pinnacol Assurance PO Box
            561434 Denver, CO 80256-
            1434                                                     0.00                 NA             NA            0.00


            Pueblo City-County Health
            Dept. 101 W. 9th Street
            Pueblo, CO 81003                                       123.00                 NA             NA            0.00


            Pueblo County Community
            Development Corporation 215
            W. 10th Street, #347 Pueblo,
            CO 81003                                            56,278.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            Pueblo West Metro District
            PO Box 7005 Pueblo, CO
            81007                                                  157.00                 NA             NA            0.00


            Rapid Refill 965 Hwy. 50
            West, Ste. 120 Pueblo, CO
            81008                                                  183.00                 NA             NA            0.00


            Rauch-Milliken Int'l, Inc. PO
            Box 8390 Metairie, LA
            70011-8390                                               0.00                 NA             NA            0.00


            Robert McClure 2816 Denver
            Blvd. Pueblo, CO 81003                                 201.00                 NA             NA            0.00


            Roto-Rooter 50 N. Fabrication
            Dr. Pueblo, CO 81007                                   869.00                 NA             NA            0.00


            SCI Blackflow Sam Cabello
            4214 Hideout Place Pueblo,
            CO 81008                                               330.00                 NA             NA            0.00


            Safe Systems, Inc. 421 S.
            Pierce Ave. Louisville, CO
            80027                                                3,300.00                 NA             NA            0.00


            Son-White Linen PO Box
            6240 110 S. 25th St. Colorado
            Springs, CO 80934                                      299.00                 NA             NA            0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            Terminix International 1610
            Quail Lake Loop Colorado
            Springs, CO 80906                                       260.00                 NA              NA              0.00


            Terminix Processing Center
            PO box 742592 Cincinnati,
            OH 45274                                                  0.00                 NA              NA              0.00


            WCI of Pueblo A Waste
            Connections Company PO
            Box 660177 Dallas, TX
            75266-0177                                                0.00                 NA              NA              0.00


            Waste Connections Of
            Colorado, Inc. 28900 E. Hwy
            96 Pueblo, CO 81001                                     795.00                 NA              NA              0.00


            Waste Management - Pueblo
            2400 West Union Ave.
            Englewood, CO 80110                                     787.00                 NA              NA              0.00


            Waste Management - Pueblo
            PO Box 78251 Phoenix, AZ
            85062                                                     0.00                 NA              NA              0.00


            Xcel Energy PO Box 9477
            Minneapolis, MN 55484                                   278.00                 NA              NA              0.00


000021      CITYWIDE BANKS                       7100-000             NA            88,116.04       88,116.04         81,774.24


000020      DONNA M. GUERRERO                    7100-000             NA              2,858.00             0.00            0.00




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                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                           CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

            FEDERAL FOOD SERVICE,
000007      INC.                                 7100-000         18,608.00          20,885.79        20,885.79       19,382.62


000010      STACY DURAN-KABONG                   7100-000               NA               644.48          644.48             0.00


000019      US BANK N.A.                         7100-000               NA           31,515.87        31,515.87       29,247.64


            AMERICAN INFOSOURCE
000001      LP AS AGENT FOR                      7100-001          3,128.00            3,567.60        3,567.60         3,310.83


            CITY OF PUEBLO, A
000024      COLORADO MUNICIPA                    7100-001            935.00              935.00          935.00          867.70


            COLORADO DEPT. OF
000004      PUBLIC SAFETY CAS                    7100-001               NA               197.50          197.50          183.29


000012B     DRAKE, JON                           7100-001               NA             5,556.00        5,556.00         5,156.13


            HIBU INC F/K/A
000002      YELLOWBOOK INC                       7100-001          1,326.00            1,325.36        1,325.36         1,229.97


000003      MEDCO SUPPLY CO.                     7100-001          1,122.00            1,121.19        1,121.19         1,040.50


            GONZALES, AMELIA
0000028A    MAIRE                                7400-000               NA             1,759.48        1,759.48             0.00


000029A     PACHECO, BRANDY                      7400-000               NA             2,146.32        2,146.32             0.00


000030A     RUYBAL, JUSTINE                      7400-000               NA             2,245.14        2,245.14             0.00

TOTAL GENERAL UNSECURED                                        $ 113,761.00       $ 162,873.77     $ 160,015.77     $ 142,192.92
CLAIMS




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                                                                           FORM 1
                                                                                  Entered:09/07/17 07:52:40 Page17 of 29
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                    Page:       1
                                                                                        ASSET CASES                                                                                                      Exhibit 8
Case No:             14-12927       EEB    Judge: ELIZABETH E. BROWN                                                             Trustee Name:                      Robertson B. Cohen, Trustee
Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                          Date Filed (f) or Converted (c):    03/13/14 (f)
                                                                                                                                341(a) Meeting Date:                04/09/14
For Period Ending: 08/28/17                                                                                                     Claims Bar Date:                    07/14/14



                                       1                                        2                          3                         4                         5                                   6
                                                                                                  Estimated Net Value
                                                                            Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                            Unscheduled          Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                   Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 401 S. Prairie, Pueblo, Colorado 81005 -- Assessor                        500,000.00                       295,981.00                                          177,470.48                     FA
 2. U.S. Bank Checking Account                                                      951.00                        951.00                                                 0.00                     FA
 3. Pueblo City/County Partnershp (CSAC) 4th Qtr. Gran                         15,907.00                         8,914.91                                            8,914.91                     FA
 4. St. John Neumann                                                                941.00                        941.00                                              941.00                      FA
     Accounts Recievable
 5. Parrent fees in collection                                                192,674.70                       192,674.70                                            2,207.81                     FA
     Accounts Recievable
 6. Current Parent Fees Receiaveble (collection unlike                         26,420.00                        26,420.00                                            1,548.75                     FA
     Accounts Revievable
 7. 1995 Ford Van; 127,199 miles 15 passenger van                               5,763.00                         1,200.00                                            1,200.00                     FA
 8. 1987 Ford Van; 163,292 miles 15 passenger van                               5,163.00                          550.00                                              550.00                      FA
 9. 1994 Chevy Van; 127,199 miles 15 passenger vehicle                          4,813.00                          700.00                                              700.00                      FA
 10. 1997 Ford Van; 214,144 miles 15 passenger vehicle                          5,863.00                         1,100.00                                            1,100.00                     FA
 11. 1997 Ford E250 Van; 162, 718 miles 15 passenger va                         5,863.00                         1,000.00                                            1,000.00                     FA
 12. ProCare Software, touchscreen monitor,                                     1,693.00                         1,693.00                                            1,693.00                     FA
 13. Spark Software/Hardware                                                    2,128.00                         2,128.00                                            2,128.00                     FA
 14. Misc. Furniture - Will provide Trustee with list u                        30,916.00                        30,916.00                                           30,916.00                     FA
 15. All Equipment -- US BANK                                                  21,525.00                        21,525.00                                           18,525.00                     FA
 16. (2) Freezers $600 Globe 20 qt. Mixer $400 T49 True                         8,938.00                         8,938.00                                            8,938.00                     FA
 17. Kaplan Early Learning Company 7 Cribs 1 Evac Kit 1                         8,314.00                         8,314.00                                            8,314.00                     FA
 18. Misc. Kitchen Equipment, dishware, utensils, etc.                              452.00                        452.00                                              452.00                      FA
 19. Unemployment Bond                                                         11,474.00                        11,474.00                                           11,474.00                     FA
 20. Personal Property @ Spaulding Location                                           0.00                       3,000.00                                            3,000.00                     FA
     Scheduled with Assets 12-19 which were sold with asset #1
 21. Land Title refund (u)                                                            0.00                          57.20                                               57.20                     FA
     Overpayment Real Property recording



LFORM1                                                                                                                                                                                                         Ver: 20.00d
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                                                                           FORM 1
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        2
                                                                                               ASSET CASES                                                                                                                Exhibit 8
Case No:              14-12927      EEB     Judge: ELIZABETH E. BROWN                                                                           Trustee Name:                       Robertson B. Cohen, Trustee
Case Name:            WASHINGTON CHILDRENS CENTER, INC.                                                                                        Date Filed (f) or Converted (c):     03/13/14 (f)
                                                                                                                                               341(a) Meeting Date:                 04/09/14
                                                                                                                                               Claims Bar Date:                     07/14/14



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 22. Personal Property @ Spaulding Location                                                       0.00                          2,000.00                                             2,000.00                     FA
 23. Miscellaneous Computers towers and laptops (u)                                              40.00                             40.00                                                40.00                     FA
 24. Tax refund (u)                                                                             128.08                           128.08                                               128.08                      FA
     Overpayment of Estate Employment taxes. Refund received 3/10/17

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $849,966.78                         $621,097.89                                          $283,298.23                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   February 27, 2017, 08:00 am Recd tax refund from IRS - opened new bank account, deposited check for distribution to
   unsecured
   October 03, 2016, Ready to cut checks
   September 01, 2016, NFR filed
   August 24, 2016, 07:59 am NFR ready
   NFR filed


   Initial Projected Date of Final Report (TFR): 08/31/15           Current Projected Date of Final Report (TFR): 12/30/16




LFORM1                                                                                                                                                                                                                           Ver: 20.00d
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                                   Entered:09/07/17 07:52:40 Page19 of 29
                                                                                                  FORM 2                                                                                            Page:    1
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             14-12927 -EEB                                                                                             Trustee Name:                      Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                         Bank Name:                         Union Bank
                                                                                                                                 Account Number / CD #:             *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                    Blanket Bond (per case limit):     $ 47,027,358.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                               3                                                 4                                                5                        6                 7
    Transaction       Check or                                                                                                          Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                  0.00
          05/23/14        5       WASHINGTON CHILDRENS CENTER, INC.              ACCOUNTS RECEIVABLE                                   1121-000                     85.87                                        85.87
                                  PUEBLO, CO 81005
          06/27/14        6       Wakefield and Assoc                            ACCOUNTS RECEIVABLE                                   1121-000                    446.71                                     532.58
                                  425 West 8th Street
                                  Pueblo, CO 81003
          08/22/14    * NOTE *    Dickensheet & Associates                       Payment from Auctioneer                               1129-000                   4,550.00                                  5,082.58
                                  1501 WWesley Avenue                            * NOTE * Properties 7, 8, 9, 10, 11
                                  Denver, CO 80223
          09/04/14     005001     Dickensheet & Associates, Inc.                 Docket No. 76; Auc Fees                               3610-000                                           682.50            4,400.08
                                  1501 W. Wesley Avenue
                                  Denver, CO 80223
          09/04/14     005002     Dickensheet & Associates, Inc.                 Docket No. 76; Auc exp                                3620-000                                            75.00            4,325.08
                                  1501 W. Wesley Avenue
                                  Denver, CO 80223
          09/12/14    * NOTE *    Land Title Guarantee Company                   Payment Asset Sale                                                          262,910.48                                 267,235.56
                                  503 N Main St                                  * NOTE * Properties 1, 12, 13, 14, 15, 16, 17, 18,
                                  Pueblo, Co 81003                               19, 20
                                  WASHINGTON CHILDRENS CENTER, INC.                 Memo Amount:          616,000.00                   1110-000
                                                                                 Land Title Guarteen Company
                                  US BANK                                           Memo Amount:        (       56,058.85 )            4110-000
                                                                                 US Bank
                                  US BANK                                           Memo Amount:        (       35,828.86 )            4110-000
                                                                                 US Bank
                                  COMMUNITY DEVELOPEMENT SERVICES                   Memo Amount:      (  142,066.00 )                  4110-000
                                                                                 Community Deve Services
                                  PUEBLO COUNTY COMM DEVELOPMENT                    Memo Amount:     (    57,589.32 )                  4110-000
                                  CORP                                           Pueblo Community Deve Corp
                                  CITY OF PUEBLO                                    Memo Amount:        (       1,315.49 )             2820-000


                                                                                                                                 Page Subtotals              267,993.06                    757.50
                                                                                                                                                                                                            Ver: 20.00d
LFORM24
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                                     Entered:09/07/17 07:52:40 Page20 of 29
                                                                                                   FORM 2                                                                                          Page:    2
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             14-12927 -EEB                                                                                            Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                        Bank Name:                       Union Bank
                                                                                                                                Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                   Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                                Separate Bond (if applicable):


           1              2                                3                                                  4                                             5                      6                   7
    Transaction       Check or                                                                                                         Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction            Tran. Code       Deposits ($)       Disbursements ($)         Balance ($)
                                                                                  City of Pueblo
                                  DEED, RECORD CORRECTION                            Memo Amount:       (           32.00 )           2500-000
                                                                                  Record Correction Deed
                                  ORDER, RECORD                                      Memo Amount:         (         32.00 )           2500-000
                                                                                  Record Order
                                  RELEASE, RECORD LIEN                               Memo Amount:         (         32.00 )           2500-000
                                                                                  Record Lien Release
                                  SELLER BROKER COMMISSION                            Memo Amount:      (         21,560.00 )         3510-000
                                                                                  Seller Broker Commission
                                  BUYER BROKERAGE COMMISSION                         Memo Amount:     (    21,560.00 )                3510-000
                                                                                  Buyer Brokerage Commission
                                  CLOSING FEE - LAND TITLE                           Memo Amount:         (        200.00 )           2500-000
                                                                                  Closing Fee - Land Title
                                  REPAIRS, CREDIT FOR                                Memo Amount:         (       16,815.00 )         2500-000
                                                                                  Credit for Repairs
          09/19/14        5       Wakefield & Associates                          ACCOUNTS RECEIVABLE                                 1121-000                   141.94                                267,377.50
                                  425 W 8th Street
                                  Pueblo, CO 81003
          09/25/14                Union Bank                                      BANK SERVICE FEE                                    2600-000                                           15.00         267,362.50
          10/02/14     005003     Curt Todd                                       Docket No 81; Atty Fees                             3210-000                                         9,060.00        258,302.50
                                  837 E. 17th Ave.
                                  Ste. 102
                                  Denver, CO 80218
          10/02/14     005004     Curt Todd                                       Docket No. 81; Atty Expenses                        3220-000                                          232.19         258,070.31
                                  837 E. 17th Ave.
                                  Ste. 102
                                  Denver, CO 80218
          10/27/14                Union Bank                                      BANK SERVICE FEE                                    2600-000                                          208.22         257,862.09
          11/12/14     005005     Trustee Insurance Agency                        Docket No 93; Insurance Fees                        2420-000                                         3,489.46        254,372.63


                                                                                                                                Page Subtotals                   141.94                13,004.87
                                                                                                                                                                                                           Ver: 20.00d
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                                                                                                  FORM 2                                                                                         Page:    3
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             14-12927 -EEB                                                                                        Trustee Name:                      Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                    Bank Name:                         Union Bank
                                                                                                                            Account Number / CD #:             *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                               Blanket Bond (per case limit):     $ 47,027,358.00
                                                                                                                            Separate Bond (if applicable):


           1              2                                3                                               4                                            5                        6                   7
    Transaction       Check or                                                                                                     Uniform                                                       Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
                                  2813 West Main
                                  Kalamazoo, MI 49006
          11/12/14     005006     Xcel Energy                                     Docket No 93; Utility Bills                     2420-000                                            139.60         254,233.03
                                  PO Box 9477                                     Xcel Acct No. 53-0010439425-5
                                  Mpls, MN 55484-9477
          11/21/14       21       Land Title Guarantee Company                    Miscellaneous                                   1290-000                     57.20                                 254,290.23
                                  3033 E 1st Ave #600
                                  Denver, CO 80206
          11/21/14        4       St John Nwumann Catholic School                 ACCOUNTS RECEIVABLE                             1121-000                    941.00                                 255,231.23
                                  2415 E Orman Ave
                                  Pueblo, CO 81004
          11/25/14                Union Bank                                      BANK SERVICE FEE                                2600-000                                            385.75         254,845.48
          12/26/14                Union Bank                                      BANK SERVICE FEE                                2600-000                                            369.19         254,476.29
          01/26/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            378.67         254,097.62
          02/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            378.12         253,719.50
          03/11/15        3       Pueblo County Treasury                          ACCOUNTS RECEIVABLE                             1121-000                   8,914.91                                262,634.41
          03/11/15        6       Wakefield and Associates                        ACCOUNTS RECEIVABLE                             1121-000                   1,028.71                                263,663.12
                                  10800 E Bethany Drive Ste450
                                  Aurora, CO 80014
          03/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            341.04         263,322.08
          04/27/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            386.52         262,935.56
          05/26/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            378.68         262,556.88
          06/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            390.69         262,166.19
          07/27/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            377.54         261,788.65
          08/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            389.57         261,399.08
          09/01/15     005007     Curt Todd                                       Docket No. 158; Atty Fees                       3210-000                                       13,050.00           248,349.08
                                  837 E. 17th Ave.
                                  Ste. 102
                                  Denver, CO 80218


                                                                                                                            Page Subtotals               10,941.82                   16,965.37
                                                                                                                                                                                                         Ver: 20.00d
LFORM24
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                                    Entered:09/07/17 07:52:40 Page22 of 29
                                                                                                 FORM 2                                                                                          Page:    4
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             14-12927 -EEB                                                                                        Trustee Name:                      Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                    Bank Name:                         Union Bank
                                                                                                                            Account Number / CD #:             *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                               Blanket Bond (per case limit):     $ 47,027,358.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                   4                                          5                        6                   7
    Transaction       Check or                                                                                                     Uniform                                                       Account / CD
       Date           Reference                Paid To / Received From                        Description Of Transaction          Tran. Code       Deposits ($)         Disbursements ($)         Balance ($)
          09/01/15     005008     Curt Todd                                       Docket No. 158; Atty Exp                        3220-000                                            343.43         248,005.65
                                  837 E. 17th Ave.
                                  Ste. 102
                                  Denver, CO 80218
          09/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            388.97         247,616.68
          10/26/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            358.53         247,258.15
          11/25/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            367.93         246,890.22
          12/09/15       22       Citywide Banks                                  Payment Asset Sale                              1129-000                   2,000.00                                248,890.22
                                  Po Box 128
                                  Aurora, CO 80040
          12/15/15     005009     Litigation Solutions Inc                        Docket No. 183; Scan & Shredding                2990-000                                       21,395.45           227,494.77
                                  5995 Greenwood Plaza Blvd; Ste 160
                                  Greenwood Villiage, CO 80111
          12/15/15     005010     Litigation Solutions Inc                        Docket No. 183; Scan & Shreddin                 2990-000                                       15,446.92           212,047.85
                                  5995 Greenwood Plaza Blvd; Ste 160
                                  Greenwood Villiage, CO 80111
          12/28/15                Union Bank                                      BANK SERVICE FEE                                2600-000                                            355.54         211,692.31
          01/22/16        6       WAKEFIELD AND ASSOC                             ACCOUNTS RECEIVABLE                             1121-000                     73.33                                 211,765.64
                                  10800 E BETHANY STE 450
                                  PO BOX 441590
                                  AURORA, CO 80044
          01/25/16                Union Bank                                      BANK SERVICE FEE                                2600-000                                            351.33         211,414.31
          02/25/16                Union Bank                                      BANK SERVICE FEE                                2600-000                                            313.69         211,100.62
          03/25/16                Union Bank                                      BANK SERVICE FEE                                2600-000                                            293.07         210,807.55
          03/30/16        5       Wakefield and Assoc                             ACCOUNTS RECEIVABLE                             1121-000                   1,980.00                                212,787.55
                                  425 W 8th Street
                                  Pueblo, CO 81003
          04/25/16                Union Bank                                      BANK SERVICE FEE                                2600-000                                            312.90         212,474.65
          05/16/16       23       Dickensheet and Associates                      Payment Asset Sale                              1229-000                     40.00                                 212,514.65


                                                                                                                           Page Subtotals                    4,093.33                39,927.76
                                                                                                                                                                                                         Ver: 20.00d
LFORM24
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                                    Entered:09/07/17 07:52:40 Page23 of 29
                                                                                                   FORM 2                                                                                        Page:    5
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             14-12927 -EEB                                                                                         Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                     Bank Name:                       Union Bank
                                                                                                                             Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                             Separate Bond (if applicable):


           1              2                               3                                                  4                                           5                       6                   7
    Transaction       Check or                                                                                                      Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  1501 W Wesley Ave
                                  Denver, CO 80223
          05/24/16     005011     Dickensheet & Associates, Inc.                  Docket No. 205; Auc Fees                         3610-000                                              6.00        212,508.65
                                  1501 W. Wesley Avenue
                                  Denver, CO 80223
          05/25/16                Union Bank                                      BANK SERVICE FEE                                 2600-000                                           305.14         212,203.51
          06/27/16                Union Bank                                      BANK SERVICE FEE                                 2600-000                                           314.86         211,888.65
          10/15/16     005012     Robertson B. Cohen                              Chapter 7 Compensation/Expense                                                                  22,738.15          189,150.50
                                  1720 S Bellaire
                                  Suite 205
                                  Denver, CO 80222
                                                                                         Fees                    21,076.71         2100-000
                                                                                         Expenses                1,661.44          2200-000
          10/15/16     005013     Curt Todd                                       Claim ADMIN, Payment 100.00000%                  3210-000                                          9,375.00        179,775.50
                                  837 E 17th Ave
                                  Ste 102
                                  Denver, CO 80218
          10/15/16     005014     Curt Todd                                       Claim ADMIN, Payment 100.00000%                  3220-000                                           886.80         178,888.70
                                  837 E 17th Ave
                                  Ste 102
                                  Denver, CO 80218
          10/15/16     005015     DENNIS & COMPANY , PC                           Claim ADMIN, Payment 100.00000%                  3310-000                                       10,750.00          168,138.70
                                  8400 EAST CRESCENTPARKWAY, STE 600
                                  GREENWOOD VILLAGE, CO 80111
          10/15/16     005016     DENNIS & COMPANY , PC                           Claim ADMIN, Payment 100.00000%                  3320-000                                            30.00         168,108.70
                                  8400 EAST CRESCENTPARKWAY, STE 600
                                  GREENWOOD VILLAGE, CO 80111
          10/15/16     005017     Jessica R. Matamoros                            Claim 000005, Payment 100.00000%                 5300-000                                          1,094.87        167,013.83
                                  2802 E. 8th St.
                                  Pueblo, CO 81001

                                                                                                                             Page Subtotals                        0.00              45,500.82
                                                                                                                                                                                                         Ver: 20.00d
LFORM24
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                               Entered:09/07/17 07:52:40 Page24 of 29
                                                                                               FORM 2                                                                                        Page:    6
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-12927 -EEB                                                                                     Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                 Bank Name:                       Union Bank
                                                                                                                         Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                            Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                         Separate Bond (if applicable):


           1              2                              3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          10/15/16     005018     Loretta Valdez                                 Claim 000006, Payment 100.00000%              5300-000                                          1,090.76        165,923.07
                                  1724 Hollywood Dr.
                                  Pueblo, CO 81005
          10/15/16     005019     Stacy Duran-Kabong                             Claim 000008, Payment 100.00000%              5300-000                                          1,068.74        164,854.33
                                  2027 Acero Ave., #34
                                  Pueblo, CO 81004
          10/15/16     005020     Teresa A. Lucero                               Claim 000009, Payment 100.00000%              5300-000                                           815.97         164,038.36
                                  2618 Crawford
                                  Pueblo, CO 81004
          10/15/16     005021     Donna M. Guerrero                              Claim 000011, Payment 100.00000%              5300-000                                          1,593.09        162,445.27
                                  68 Duke Street
                                  Pueblo, CO 81005
          10/15/16     005022     Jon Drake                                      Claim 000012, Payment 100.00000%              5300-000                                          1,278.23        161,167.04
                                  847 E. Evans Ave.
                                  Pueblo, CO 81004
          10/15/16     005023     Sharon A. Smith                                Claim 000013, Payment 100.00000%              5300-000                                           988.15         160,178.89
                                  1740 Acero
                                  Pueblo, CO 81004
          10/15/16     005024     Colorado Dept. of Labor and Employment         Claim 000014, Payment 100.00000%              5800-000                                          2,931.00        157,247.89
                                  PO Box 956
                                  Denver, CO 80201
          10/15/16     005025     Carla Jacquez                                  Claim 000016, Payment 100.00000%              5300-000                                           434.28         156,813.61
                                  1115 Cypress
                                  Pueblo, CO 81004
          10/15/16     005026     Danielle M. Martinez                           Claim 000022, Payment 100.00000%              5300-000                                           418.54         156,395.07
                                  105 Cornell Circle
                                  Pueblo, CO 81005
          10/15/16     005027     Bart G. Keck                                   Claim 000023, Payment 100.00000%              5300-000                                          1,329.66        155,065.41
                                  22 Sepulveda Drive
                                  Pueblo, CO 81005

                                                                                                                         Page Subtotals                        0.00              11,948.42
                                                                                                                                                                                                     Ver: 20.00d
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                                                                                                FORM 2                                                                                        Page:    7
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-12927 -EEB                                                                                      Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                  Bank Name:                       Union Bank
                                                                                                                          Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                             Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          10/15/16     005028     Amelia Marie Gonzales                           Claim 000028, Payment 100.00000%              5300-000                                           539.52         154,525.89
                                  c/o Douglas Gradisar
                                  1836 Vinewood #200
                                  Pueblo, CO 81005
          10/15/16     005029     Brandy Pacheco                                  Claim 000029, Payment 100.00000%              5300-000                                           667.32         153,858.57
                                  c/o Douglas Gradisar
                                  1836 Vinewood #200
                                  Pueblo, CO 81005
          10/15/16     005030     Justine Ruybal                                  Claim 000030, Payment 100.00000%              5300-000                                           667.32         153,191.25
                                  c/o Douglas Gradisar
                                  1836 Vinewood #200
                                  Pueblo, CO 81005
          10/15/16     005031     Manuel G. Pena                                  Claim 000031, Payment 100.00000%              5300-000                                          1,405.11        151,786.14
                                  2215 Cartier Drive
                                  Pueblo, CO 81005
          10/15/16     005032     COLORADO DEPARTMENT OF REVENUE                  COLORADO STATE TAX                            5300-000                                           988.58         150,797.56
          10/15/16     005033     INTERNAL REVENUE SERVICE                        SOCIAL SECURITY                               5300-000                                          1,323.79        149,473.77
          10/15/16     005034     INTERNAL REVENUE SERVICE                        FEDERAL INCOME TAX                            5300-000                                          5,337.88        144,135.89
          10/15/16     005035     INTERNAL REVENUE SERVICE                        MEDICARE                                      5300-000                                           309.59         143,826.30
          10/15/16     005036     INTERNAL REVENUE SERVICE                        EMPLOYER MATCHING SOCIAL SECURITY             5800-000                                          1,323.79        142,502.51
          10/15/16     005037     FEDERAL UNEMPLOYMENT INSURANCE                  FEDERAL UNEMPLOYMENT INSURANCE                5800-000                                           128.08         142,374.43
          10/15/16     005038     INTERNAL REVENUE SERVICE                        EMPLOYER MATCHING MEDICARE                    5800-000                                           309.59         142,064.84
          10/15/16     005039     American InfoSource LP as agent for             Claim 000001, Payment 92.71919%               7100-000                                          3,307.85        138,756.99
                                  Xcel Energy South
                                  PO Box 268872
                                  Oklahoma City, OK 73126-8872
          10/15/16     005040     Hibu Inc f/k/a Yellowbook Inc                   Claim 000002, Payment 92.71896%               7100-000                                          1,228.86        137,528.13
                                  c/o RMS Bankruptcy Recovery Services
                                  P.O. Box 5126


                                                                                                                          Page Subtotals                        0.00              17,537.28
                                                                                                                                                                                                      Ver: 20.00d
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                                                                                                    FORM 2                                                                                       Page:     8
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             14-12927 -EEB                                                                                          Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                      Bank Name:                       Union Bank
                                                                                                                              Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                 Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                              Separate Bond (if applicable):


           1              2                               3                                                  4                                            5                       6                  7
     Transaction      Check or                                                                                                       Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  Timonium, MD 21094
          10/15/16     005041     Medco Supply Co.                                   Claim 000003, Payment 92.71934%                7100-000                                          1,039.56       136,488.57
                                  c/o Comcol
                                  82 Pleasantview Dr.
                                  Holland, NY 14080
 *        10/15/16     005042     Colorado Dept. of Public Safety Cashier            Claim 000004, Payment 92.71899%                7100-004                                           183.12        136,305.45
                                  700 Kipling St.
                                  Denver, CO 80215
          10/15/16     005043     Federal Food Service, Inc.                         Claim 000007, Payment 92.71931%                7100-000                                       19,365.16         116,940.29
                                  c/o Edwards M. McCord
                                  985 Pico Pt.
                                  Colorado Springs, CO 80905
          10/15/16     005044     Jon Drake                                          Claim 000012B, Payment 92.71940%               7100-000                                          5,151.49       111,788.80
                                  847 E. Evans Ave.
                                  Pueblo, CO 81004
          10/15/16     005045     US BANK N.A.                                       Claim 000019, Payment 92.71929%                7100-000                                       29,221.29             82,567.51
                                  BANKRUPTCY DEPARTMENT
                                  P.O. BOX 5229
                                  CINCINNATI, OH 45201-5229
          10/15/16     005046     Citywide Banks                                     Claim 000021, Payment 92.71931%                7100-000                                       81,700.58               866.93
                                  c/o Markus Williams Young & Zimmermann L
                                  1700 Lincoln Street, Suite 4550
                                  Denver, CO 80203
 *        10/15/16     005047     City of Pueblo, a Colorado municipal               Claim 000024, Payment 92.71979%                7100-004                                           866.93                  0.00
                                  corp
                                  Daniel C. Kogovsek, City Atty
                                  1 City Hall Place, 3rd Floor
                                  Pueblo, CO 81003-4201
 *        01/16/17     005042     Colorado Dept. of Public Safety Cashier            Stop Payment Reversal                          7100-004                                          -183.12              183.12
                                  700 Kipling St.                                    SA

                                                                                                                              Page Subtotals                        0.00           137,345.01
                                                                                                                                                                                                         Ver: 20.00d
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                                                                                                     FORM 2                                                                                        Page:    9
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             14-12927 -EEB                                                                                             Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                         Bank Name:                       Union Bank
                                                                                                                                 Account Number / CD #:           *******5018 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                    Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                               3                                                  4                                               5                       6                 7
     Transaction      Check or                                                                                                          Uniform                                                    Account / CD
        Date          Reference               Paid To / Received From                            Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
                                  Denver, CO 80215
 *        01/16/17     005047     City of Pueblo, a Colorado municipal              Stop Payment Reversal                              7100-004                                          -866.93           1,050.05
                                  corp                                              SA
                                  Daniel C. Kogovsek, City Atty
                                  1 City Hall Place, 3rd Floor
                                  Pueblo, CO 81003-4201
          02/07/17     005048     Clerk of the Court                                Remit to Court                                     7100-000                                          183.12              866.93
                                  721 19th St.
                                  Denver, CO 80202
          02/07/17     005049     Clerk of the Court                                Remit to Court                                     7100-000                                          866.93                 0.00
                                  721 19th St.
                                  Denver, CO 80202

                                          Memo Allocation Receipts:           616,000.00                     COLUMN TOTALS                                   283,170.15              283,170.15                  0.00
                                      Memo Allocation Disbursements:          353,089.52                         Less: Bank Transfers/CD's                         0.00                    0.00
                                                                                                             Subtotal                                        283,170.15              283,170.15
                                                Memo Allocation Net:          262,910.48                         Less: Payments to Debtors                                                 0.00
                                                                                                             Net
                                                                                                                                                             283,170.15              283,170.15




                                                                                                                                 Page Subtotals                        0.00               183.12
                                                                                                                                                                                                           Ver: 20.00d
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                                    Case:14-12927-EEB Doc#:230 Filed:09/07/17                                 Entered:09/07/17 07:52:40 Page28 of 29
                                                                                                 FORM 2                                                                                    Page:    10
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                        Exhibit 9
  Case No:             14-12927 -EEB                                                                                       Trustee Name:                    Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                   Bank Name:                       Union Bank
                                                                                                                           Account Number / CD #:           *******2511 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                              Blanket Bond (per case limit):   $ 47,027,358.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                4                                            5                      6                7
    Transaction       Check or                                                                                                    Uniform                                                  Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)       Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                         0.00
          03/10/17       24       US Dept of Treasury                            Tax refund                                      1224-000                   128.08                                   128.08
          05/25/17     005001     Federal Food Service, Inc.                     Claim 000007, Payment 0.08360%                  7100-000                                         17.46              110.62
                                  c/o Edwards M. McCord
                                  985 Pico Pt.
                                  Colorado Springs, CO 80905
          05/25/17     005002     US BANK N.A.                                   Claim 000019, Payment 0.08361%                  7100-000                                         26.35               84.27
                                  BANKRUPTCY DEPARTMENT
                                  P.O. BOX 5229
                                  CINCINNATI, OH 45201-5229
          05/25/17     005003     Citywide Banks                                 Claim 000021, Payment 0.08359%                  7100-000                                         73.66               10.61
                                  c/o Markus Williams Young & Zimmermann L
                                  1700 Lincoln Street, Suite 4550
                                  Denver, CO 80203
          05/25/17     005004     United States Bankruptcy Court                 REMITTED TO COURT                                                                                10.61                  0.00
                                  721 19TH STREET                                DIVIDENDS REMITTED TO THE COURT
                                  DENVER, CO 80202                               ITEM #   CLAIM #    DIVIDEND
                                                                                 ==================================
                                                                                   1          000001              2.98           7100-001
                                                                                   2          000002              1.11           7100-001
                                                                                   3          000003              0.94           7100-001
                                                                                   4          000004              0.17           7100-001
                                                                                   24         000024              0.77           7100-001
                                                                                   32         000012B             4.64           7100-001




                                                                                                                           Page Subtotals                   128.08                128.08
                                                                                                                                                                                                   Ver: 20.00d
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                                      Case:14-12927-EEB Doc#:230 Filed:09/07/17                              Entered:09/07/17 07:52:40 Page29 of 29
                                                                                                FORM 2                                                                                                    Page:      11
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             14-12927 -EEB                                                                                         Trustee Name:                       Robertson B. Cohen, Trustee
  Case Name:           WASHINGTON CHILDRENS CENTER, INC.                                                                     Bank Name:                          Union Bank
                                                                                                                             Account Number / CD #:              *******2511 Checking Account
  Taxpayer ID No:    *******2948
  For Period Ending: 08/28/17                                                                                                Blanket Bond (per case limit):      $ 47,027,358.00
                                                                                                                             Separate Bond (if applicable):


          1                2                                3                                            4                                                 5                          6                         7
    Transaction       Check or                                                                                                      Uniform                                                               Account / CD
       Date           Reference                   Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                            Memo Allocation Receipts:                0.00                COLUMN TOTALS                                          128.08                     128.08                         0.00
                                        Memo Allocation Disbursements:               0.00                    Less: Bank Transfers/CD's                            0.00                       0.00
                                                                                                         Subtotal                                               128.08                     128.08
                                                   Memo Allocation Net:              0.00                    Less: Payments to Debtors                                                       0.00
                                                                                                         Net
                                                                                                                                                                128.08                     128.08
                                                                                                                                                                                 NET                             ACCOUNT
                     Total Allocation Receipts:           616,000.00                                     TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:            353,089.52                                     Checking Account - ********5018                   283,170.15                  283,170.15                          0.00
                                                                                                         Checking Account - ********2511                        128.08                      128.08                         0.00
                   Total Memo Allocation Net:             262,910.48
                                                                                                                                                 ------------------------    ------------------------   ------------------------
                                                                                                                                                           283,298.23                  283,298.23                          0.00
                                                                                                                                                 ==============             ==============              ==============
                                                                                                                                                  (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                             Transfers)               To Debtors)                    On Hand




                                                                                                                             Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                                    Ver: 20.00d
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